        1      JAMES L. DAY (WSBA #20474)                              HONORABLE CHRISTOPHER M. ALSTON
               RICHARD B. KEETON (WSBA #51537)
        2      BUSH KORNFELD LLP
               601 UNION STREET, SUITE 5000
        3      SEATTLE, WA 98101
               Tel: (206) 292-2110
        4      Emails: jday@bskd.com, rkeeton@bskd.com

        5

        6                                  UNITED STATES BANKRUPTCY COURT
                                           WESTERN DISTRICT OF WASHINGTON
        7
               In re                                              Chapter 11
        8
               B-1208 PINE, LLC,                                  Case No. 24-10088-CMA
        9
                                                                  OBJECTION TO CLAIM NO. 12 OF
                                             Debtor.
       10                                                         RAYMOND CHENG & BIWRAN DENG,
                                                                  NOTICE OF HEARING AND
       11                                                         CERTIFICATE OF MAILING

       12      TO:                           RAYMOND CHENG & BIWRAN DENG
               AND TO:                       THE CLERK OF THE COURT
       13      AND TO:                       THE HONORABLE CHRISTOPHER M. ALSTON
               RESPONSE DUE:                 THURSDAY, DECEMBER 26, 2024
       14      HEARING DATE:                 THURSDAY, JANUARY 2, 2025
               HEARING TIME:                 9:30 A.M. PACIFIC TIME
       15      LOCATION:                     Seattle Federal Courthouse
                                             Courtroom 7206, 7th Floor
       16                                    700 Stewart Street
                                             Seattle, Washington 98101
       17
                      NOTICE IS HEREBY GIVEN that the undersigned has filed an Objection to your claim in
       18      the above-captioned Chapter 11 bankruptcy case, as detailed below.

       19             Your rights may be affected. Your claim may be reduced, modified, or eliminated. You
               should read these papers carefully and discuss them with your attorney, if you have one.
       20
                       PLEASE TAKE FURTHER NOTICE THAT if you do not want the Court to reduce,
       21      modify or eliminate your claim, then you or your attorney must file with the Court on or before
               December 26, 2024, a written response to the objection, explaining your position. If your written
       22      response is mailed to the Court for filing, you must mail it early enough so that the Court will receive
               it on or before the date stated above; mail to the following address:
       23

                                                                                          B USH K ORN FELD L LP
               OBJECTION TO CLAIM NO. 12 OF RAYMOND CHENG &                                        LAW OFFICES
               BIWRAN DENG, NOTICE OF HEARING AND CERTIFICATE                                 601 Union St., Suite 5000
                                                                                           Seattle, Washington 98101-2373
               OF MAILING – Page 1                                                            Telephone (206) 292-2110
                                                                                              Facsimile (206) 292-2104
hk25es01q1
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        1                                           U.S. Bankruptcy Court
                                                 Western District of Washington
        2                                        700 Stewart Street, Suite 6301
                                                       Seattle, WA 98101
        3
               You must also mail a copy to the undersigned attorney at the address provided above.
        4
                      PLEASE TAKE FURTHER NOTICE that a hearing to consider this Objection and
        5      allowance of your claim shall be held on Thursday, January 2, 2025, at 9:30 a.m. Pacific Time (the
               “Hearing”) in the United States Bankruptcy Court, located at the Seattle Federal Courthouse, 700
        6      Stewart Street, Courtroom 7206, 7th Floor, Seattle, Washington.

        7              IF YOU OPPOSE the Objection, you must file your written response with the court clerk and
               serve it upon the undersigned counsel NOT LATER THAN THE RESPONSE DATE, which is
        8      Thursday, December 26, 2024.

        9            IF NO RESPONSE IS TIMELY FILED AND SERVED, the Court may, in its discretion,
               SUSTAIN THE OBJECTION PRIOR TO THE HEARING, WITHOUT FURTHER NOTICE TO
       10      YOU, and strike the Hearing.

       11              B-1208 Pine, LLC, debtor in possession in the above-captioned chapter 11 bankruptcy case,
               objects to the above-named creditor/claimant’s claim upon the grounds indicated below:
       12

       13                                           OBJECTION TO CLAIM

       14             B-1208 Pine, LLC (the “Debtor”), debtor and debtor in possession in the above-captioned

       15      chapter 11 bankruptcy case (the “Chapter 11 Case”), hereby objects to the asserted claim of Raymond

       16      Cheng and Biwran Deng (“Claimants”) for the reasons set forth below:

       17             1.     On January 16, 2024 (the “Petition Date”), the Debtor filed a voluntary petition for

       18      relief under chapter 11 of the Bankruptcy Code before this Court.

       19             2.     Throughout the pendency of this Chapter 11 Case, the Debtor operated and managed

       20      its business as a debtor in possession pursuant to sections 1107 and 1108 of the Bankruptcy Code.

       21             3.     Pursuant to Federal Rule of Bankruptcy Procedure 3003(c)(3) and the Court’s Order

       22      Setting Claims Bar Date [Docket No. 76], the deadline for non-governmental entities to file a proof of

       23      claim in this Chapter 11 Case was April 25, 2024 (the “Claims Bar Date”).

                                                                                           B USH K ORN FELD L LP
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                                                                                           Seattle, Washington 98101-2373
               OF MAILING – Page 2                                                            Telephone (206) 292-2110
                                                                                              Facsimile (206) 292-2104
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        1             4.      On the Claims Bar Date, Claimants filed Proof of Claim No. 12 (the “Proof of Claim,”

        2      and the asserted claim evidenced thereby, the “Claim”) with the Court in the Chapter 11 Case. See

        3      Proof of Claim No. 12.

        4             5.      Claimants assert they hold an unsecured claim against the Debtor in the amount of

        5      $1,417,329.10 (the “Claim Amount”) arising from “[f]raud claims and joint and several liability for

        6      those claims,” which are purportedly evidenced by a Complaint (the “Complaint”) for an action

        7      pending in King County Superior Court. Id.

        8             6.      The Debtor objects to Claim No. 12 of Claimants Raymond Cheng and Biwran Deng

        9      on the basis that the Proof of Claim, Complaint, and other supporting documentation fail to evidence

       10      any claim against the Debtor but, rather, purport to evidence claims against third party non-debtors

       11      Pine Esker, LLC, Vibrant Cities LLC, James Wong, Tyra Wong, Ming Fung, and Pui Leung

       12      (collectively, the “Defendants,” and each, a “Defendant”). No Defendant is a debtor in this Chapter

       13      11 Case. See Fed. R. Bankr. P. 3001(c). Absent submission of any supporting documentation

       14      evidencing a claim against the Debtor, the Claim should be disallowed in its entirety.

       15             7.      This Objection is limited to the grounds stated herein. The Debtor expressly reserves

       16      all further substantive or procedural objections. Nothing contained herein or any actions taken

       17      pursuant to such relief is intended or should be construed as: (a) an admission as to the validity of any

       18      claim against the Debtor; (b) a waiver of the Debtor’s right to dispute any claim on any grounds; (c) a

       19      promise or requirement to pay any claim; (d) an implication or admission that any particular claim is

       20      of a type specified in this Objection; or (e) a waiver of the Debtor’s rights under the Bankruptcy Code

       21      or any other applicable law.

       22      IF YOU OR YOUR ATTORNEY DO NOT TAKE THE STEPS SET FORTH ABOVE, THE
               COURT MAY DECIDE THAT YOU DO NOT OPPOSE THE OBJECTION TO YOUR CLAIM.
       23

                                                                                            B USH K ORN FELD L LP
               OBJECTION TO CLAIM NO. 12 OF RAYMOND CHENG &                                          LAW OFFICES
               BIWRAN DENG, NOTICE OF HEARING AND CERTIFICATE                                   601 Union St., Suite 5000
                                                                                             Seattle, Washington 98101-2373
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        1           DATED this 26th day of November, 2024.

        2                                               BUSH KORNFELD LLP

        3
                                                        By    /s/ Richard B. Keeton
        4                                                  James L. Day, WSBA #20474
                                                           Richard B. Keeton, WSBA #51537
        5                                               Attorneys for the Debtor

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                                                                                B USH K ORN FELD L LP
               OBJECTION TO CLAIM NO. 12 OF RAYMOND CHENG &                             LAW OFFICES
               BIWRAN DENG, NOTICE OF HEARING AND CERTIFICATE                      601 Union St., Suite 5000
                                                                                Seattle, Washington 98101-2373
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        1                                         CERTIFICATE OF MAILING

        2             I certify that on this 26th day of November, 2024, at Seattle, Washington, I caused copies of the

        3      Objection to Claim No. 12 of Raymond Cheng & Biwran Deng, Notice of Hearing and Certificate of

        4      Mailing to be mailed by U.S. First Class Mail, postage pre-paid to:

        5                     Fennemore Craig, P.C.
                              Attn: Brandi B. Balanda
        6                     1425 Fourth Ave., Suite 800
                              Seattle, WA 98101
        7
               and emailed to: bbalanda@fennemorelaw.com.
        8
                      I declare under penalty of perjury that the foregoing is true and correct.
        9
                                                             /s/ Eric Yocom
       10                                                    Eric Yocom

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                                                                                            B USH K ORN FELD L LP
               OBJECTION TO CLAIM NO. 12 OF RAYMOND CHENG &                                         LAW OFFICES
               BIWRAN DENG, NOTICE OF HEARING AND CERTIFICATE                                  601 Union St., Suite 5000
                                                                                            Seattle, Washington 98101-2373
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                                                                                               Facsimile (206) 292-2104
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